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                              UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MASSACHUSETTS


 STATE OF CALIFORNIA;
 COMMONWEALTH OF
 MASSACHUSETTS; STATE OF NEW
 JERSEY; STATE OF COLORADO; STATE
 OF ILLINOIS; STATE OF MARYLAND;
 STATE OF NEW YORK; and STATE OF
 WISCONSIN,

         Plaintiffs,
                                                      Case No. 1:25-cv-10548
                       v.

 U.S. DEPARTMENT OF EDUCATION;
 DENISE CARTER, in her official capacity
 as former Acting Secretary of Education and
 current acting Chief Operating Officer,
 Federal Student Aid; LINDA MCMAHON,
 in her official capacity as Secretary of
 Education,

         Defendants.



         PLAINTIFF STATES’ NOTICE OF WITHDRAWAL OF MOTION FOR
                        PRELIMINARY INJUNCTION

       Plaintiff States submit this notice of withdrawal of the pending motion for a preliminary

injunction.

       On April 4, 2025 in a 5-4 decision, the Supreme Court construed this Court’s March 10

temporary restraining order “as an appealable preliminary injunction” and stayed the order

pending disposition of the pending appeal. Dep’t of Educ. v. California, No. 24A910, slip op. at

1 (per curiam); see id. at 3. The majority’s brief per curiam opinion concluded that “the

Government is likely to succeed in showing the District Court lacked jurisdiction” under the

particular circumstances of this case, id. at 1-2, and that “the remaining stay factors” also favored

a stay based on case-specific considerations, id. at 3. It did not purport to be a final ruling on



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defendants’ jurisdictional argument—or on any other issue in this case. See generally Labrador

v. Poe, 144 S. Ct. 921, 928-929 (2024) (Kavanaugh, J., concurring in the grant of a stay)

(distinguishing a ruling on an emergency stay application from “a final merits ruling”).

          Plaintiff States respectfully disagree with the analysis in the per curiam opinion. See, e.g.,

Dep’t of Educ. v. California, dissenting op. of Kagan, J., at 1 (noting that the majority’s

jurisdictional analysis “relies exclusively on Great-West Life & Annuity Ins. Co v. Knudson, 534

U.S. 204 (2002),” a case that “was not brought under the APA, as the Court took care to note”);

id. (observing that, “contra the per curiam, the respondent States have consistently represented

that the loss of these grants will force them—indeed, has already forced them—to curtail teacher

training programs”). Nevertheless, in the context of what it viewed as a preliminary injunction

appeal, a majority of the Supreme Court has granted a stay based on its preliminary assessment

of defendants’ jurisdictional argument in this case and its view of the equitable considerations

here. In light of that ruling, Plaintiff States hereby withdraw their pending motion for a

preliminary injunction.

          This withdrawal should not be construed to concede any of the legal or factual issues in

this case.1 Counsel for Plaintiff States will meet and confer with counsel for defendants

regarding the most efficient path forward for this litigation and will update this Court in due

course.



Dated: April 8, 2025




1 Each Plaintiff reserves all rights to seek relief as may be appropriate or necessary.




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                               CERTIFICATE OF SERVICE

I, Adelaide Pagano, certify that on April 8, 2025, I provided a copy of the forgoing document to
counsel for the Defendants via CM/ECF.


                                                    /s/ Adelaide Pagano
                                                    Adelaide Pagano (BBO #690518)
                                                    Assistant Attorney General




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